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                           UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

                                 PORTLAND DIVISION


 DALLAS BUYERS CLUB, LLC,                    Case No.: 3:15-cv-0907-AC

              Plaintiff,                     DEFENDANT’S REPLY IN SUPPORT OF
 v.                                          DEFENDANT’S MOTION FOR
                                             SUMMARY JUDGMENT
 JOHN HUSZAR,
                                             FRCP 56
              Defendant.
                                             ORAL ARGUMENT REQUESTED



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                                             REPLY
        I.     INTRODUCTION
        Defendant John Huszar (“Huszar”) moved this Court for an order granting summary

judgment under three alternate grounds: (1) atatutory immunity under 17 U.S.C 512(a) and (b) due

the installation of Tor on his computer system; (2) a lack of admissible depository copy of the

work, establishing that Defendant Dallas Buyers Club, LLC (“DBC”) cannot present its case in

chief; (3) the inadmissibility of the MaverickMonitor data in view of the testimony of DBC’s

30(b)(6) designee, Robert Young. DBC timely filed their opposition on each point.

        Huszar contends the use of Tor provides absolute immunity under 17 U.S.C 512, even in

view of the Requests for Admissions (“RFAs”). Also, DBC never produced, or even argued, that

a valid depository copy was turned over at the close of discovery, thus they cannot present their

case in chief. Lastly, Bunting’s “report” should not be used to rebut Huszar’s contentions on MSJ

as it relies on data that should have been produced in discovery. If the Court agrees on any one of

these points, then summary judgement should be granted in favor of Huszar.


        II.    ARGUMENT
        A. HUSZAR’S ALLEGEDLY “DEEMED ADMITTED” RFA’S DO NOT NEGATE
           THE STATUTORY IMMUNITY UNDER 17 U.S.C. §§ 512(A) AND 512(B) AS A
           CONSEQUENCE OF HIS INSTALLATION OF TOR


        DBC does not dispute the hardware installed on Huszar’s server rack participated in /

served as part of the Tor Network, since these facts are undisputed.

        This Court made the following factual findings earlier in the case in which both parties can

rely:

               On the Infringing Machine, Defendant installed Tor Network software and
               created a “Tor Node,” which facilitates use of the Tor Network by end users by
               routing information through Defendant’s machine. Also on this machine were
               VMs for two email servers. The Infringing Machine had two hard drives, which

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               were mirrored. Defendant did not use the Infringing Machine as a personal
               computer and did not attach any personal computer to this machine. The
               Infringing Machine was located on a server rack.

               (Order on February 6, 2017; Docket 95, page 5)


       As there is a factual finding about Tor, this leads to the next question – what effect does

the Tor software have on the underlying computer system?

       Tor creates an anonymous network through which any two users may communicate. (See

Docket 138-8, Page 4, “Onion routing is an approach to low-latency anonymous communication

on public networks.”; See also https://en.wikipedia.org/wiki/Tor_(anonymity_network). Tor, from

a technical perspective, anonymizes the underlying computer data and permits participating

computers, or “nodes,” to provide an anonymous network through which third parties can transmit

data. This fact is undisputed. How Tor works has been cited by a number of appellate courts,

mostly in a negative light, but the technology is obviously content neutral, just as the Internet itself

is content neutral. (See United States v. Horton, 863 F.3d 1041, 1045 (8th Cir., 2017); United

States v. Levin, 874 F.3d 316 (1st Cir., 2017); describing the Tor technical features in connection

with Operation Playpen).

       DBC claims the RFAs should trump this factual finding to negate the statutory immunity.

(Opposition, Docket 144, pages 3-5). Assuming for the purposes of this motion that RFAs 5 & 7

are deemed admitted, Huszar still prevails under statutory defense of 17 U.S.C. 512(a) and (b)

since every ISP and communications company (such as Comcast, AT&T, etc.) relies on that

defense.

       Everyday, huge volumes of non-infringing and infringing material flow between computer

systems using the Internet. A good description can be found at U.S. Telecom Ass'n v. Fed.

Commc'ns Comm'n, 825 F.3d 674,689 (D.C. Cir., 2016) stating:


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               To bring this all together, when an end user wishes to check last night's
               baseball scores on ESPN.com, his computer sends a signal to his broadband
               provider, which in turn transmits it across the backbone to ESPN's
               broadband provider, which transmits the signal to ESPN's computer.
               Having received the signal, ESPN's computer breaks the scores into packets
               of information which travel back across ESPN's broadband provider
               network to the backbone and then across the end user's broadband provider
               network to the end user, who will then know that the Nats won 5 to 3.


       In that example, once can replace, ESPN.com, with any provider of data. Thus, the internet

backbone is a mere conduit – it does not differentiate between infringing and non-infringing data.

       Huszar, like the internet providers, is not the “end user” of the data, due to his installation

of Tor. Tor makes his computer part of the “broadband provider network” and is just a conduit of

data for the end-user. Huszar, by virtue of installing Tor, is a mere conduit for other users as he

just routes their requests. As part of the “provider network”, Huszar should be given the same

statutory immunities under 17 U.S.C. § 512(a) and § 512(b).

       This issue seems to be one of first impression for the Federal Courts. It has been addressed

very well academically, see Notes and Comments, Northwestern School of Law, Vol 106, No. 2,

by Nassim Nazemi, DMCA § 512 SAFE HARBOR FOR ANONYMITY NETWORKS AMID A

CYBER-DEMOCRATIC STORM: LESSONS FROM THE 2009 IRANIAN UPRISING, attached as

Exhibit 1.

       Like an oracle, Ms. Nazemi predicted that: “…Because the Digital Millennium Copyright

Act (DMCA)12 was not drafted with Tor in mind and because no anonymity network operator has

yet faced secondary liability in a copyright infringement action, it is unclear whether Tor’s

volunteer operators will be exempt from liability under DMCA § 512(a), a provision giving safe

harbor to transitory digital network communication providers….” Ms. Nazemi also predicted in

her article: “…Thus, Tor operators may soon find themselves in court facing damages of up to



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$150,000 per illegally copied movie.” (Id. at 873) and “…Exit node operators face the greatest

risk of liability because all Tor users take on the IP address of their exit node operator. In other

words,” and “…[w]hen someone does something improper via Tor, the exit node operator often

gets blamed…”. (Id. at 875). Ms. Nazemi opines that a Tor operator should be immune under 17

U.S.C. § 512(a).

        In conclusion, even if we accept the RFAs are deemed admitted, there is no legal liability

due to Huszar’s operation of Tor. Like the UPS, FedEx, or the Post Office, Huszar should not be

held liable for just delivering a copy of Dallas Buyers Club to an end-user.

       Huszar respectfully requests that this Court grant summary judgment in his favor in view

of the statutory immunities provided under the DMCA.



       B. DBC’S FAILURE TO PRODUCE THE DEPOSITORY COPY OF THE MOVIE
          BY THE CLOSE OF DISCOVERY PREVENTS THEM FROM PRESENTING
          THEIR CASE IN CHIEF

       DBC confuses legal title to a work with the work itself. See Fathers & Daughters Nev.,

LLC v. Zhang 3:16-cv-1443-SI (D. Or., 2018) for a more than thorough analysis on the effect

agreements on the issue of title and standing. At issue here is not clear title, as in in Fathers, but

what physical evidence can DBC introduce at trial, such evidence being the foundation of their

copyright claim e.g. the motion picture Dallas Buyers Club.

       At trial, DBC will have to admit at least two pieces of evidence – the movie for which a

records custodian can lay the foundation, and records that establish title. DBC will first lay the

foundation for the title of the work (the copyright certificate). DBC claims the copyright certificate

establishes clear title. For the purposes of this MSJ, that is undisputed. Then, DBC will have to

introduce the underlying work itself, the film Dallas Buyers Club, along with the proper



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foundation. The jury will then examine what portions DBC alleges Huszar infringed (arguably

reconstructed from a PCAP) and make a determination on infringement.

       By the close of discovery, DBC failed to produce the depository copy of the work. (See

Docket 118). In DBC’s opposition to this motion, there was no argument on what evidence was

produced in discovery and how proper foundation is laid. When the movant presents evidence, it

is up to the non-moving party to present evidence to create a triable issue of fact. See Guarino v.

Brookfield Tp. Trustees, 980 F.2d 399,403 (6th Cir., 1992); In re Caneva, 550 F.3d 755 , 761 (9th

Cir., 2008). When the non-moving party does not present such evidence, the Court can correctly

assume that no such evidence exists.

        DBC did not produce or point to any evidence in their opposition brief regarding the work

itself. DBC did not produce a declaration from a records custodian at either DBC or Universal of

what portions of the films are identical or not identical.

        In order to satisfy one of the elements of infringement, namely copying, DBC must

produce evidence to demonstrate copying. See 9th Circuit Model Jury Instructions 17.5:

               “…Anyone who copies original expression from a copyrighted work during
               the term of the copyright without the owner’s permission infringes the
               copyright. On the plaintiff’s copyright infringement claim, the plaintiff has
               the burden of proving by a preponderance of the evidence that: 1. the
               plaintiff is the owner of a valid copyright; and 2. the defendant copied
               original expression from the copyrighted work. If you find that the
               plaintiff has proved both of these elements, your verdict should be for the
               plaintiff. If, on the other hand, you find that the plaintiff has failed to prove
               either of these elements, your verdict should be for the defendant..”
               (emphasis added).


       It is not Huszar’s burden to produce the evidence needed to prove DBC’s case in chief.

The expense of a trial is not warranted when the result will simply be a JMOL. (See Antonick v.

Elec. Arts, Inc., 841 F.3d 1062, 1066 (9th Cir., 2016) entry of JMOL due to lack of the underlying



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work not being in evidence.)

       Huszar respectfully requests this Court enter summary judgment in his favor as DBC did

not produce an admissible depository copy of the film Dallas Buyers Club by the close of

discovery.



   C. DBC’S BUNTING RELIED ON EVIDENCE REQUESTED IN DISCOVERY BY
      DEFENDANT BUT NEVER PRODUCED BY PLAINTIFF

       In support of DBCs opposition to rebut the expert testimony of Dr. Kal Toth, DBC has

submitted an “expert report” from Stephen Bunting which was prepared for a completely

difference case. (Docket 145-1). Mr. Bunting’s report relies on test data and test scripts that were

not provided to Huszar’s counsel by the close of discovery. See Objections to Evidence infra.

       Before the close of discovery, Huszar requested DBC produce a copy of the source code,

documentation, test data, etc. that was used to validate and verify Huszar’s IP address. (See Exhibit

2, Huszar’s RPD Set 2). DBC objected to the production of the source code, but this Court entered

a protective order. (Docket 116). The protective order was later modified. (Docket 137).

       In their opposition, DBC produced a declaration from Bunting (Docket 145) that relies on

test data that should have been produced by the close of discovery. Further, there is no evidence

that Bunting prepared this declaration for this case, rather it was prepared for another case in the

U.S. District Court for the Western District of Washington (WDWA). Bunting’s conclusion is

MaverickMonitor system “works”. But Bunting’s expert report is based on information from Ben

Perino. Ben Perino has been disqualified as an expert by Judge Zilly in the WDWA finding that

Ben Perino is unqualified as an expert and his testimony is unbelievable. Judge Zilly stated:

               (3) In response to the Minute Order entered November 3, 2017 (see, e.g.,
               C17-988, docket no. 27), requiring plaintiff to provide an offer of proof,
               plaintiff has filed a declaration by Benjamin Perino, Chief Executive

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               Officer of GuardaLey LTD, a German company. In such declaration, Perino
               asserts that he created the surveillance software at issue, which is licensed
               by GuardaLey to MaverickEye UG, also a German company. Perino Decl.
               at ¶¶ 5 & 11 (see, e.g., C17-988, docket no. 29). Perino has been proffered
               as an expert, but his qualifications consist of a technical high school
               education and work experience unrelated to the peer-to-peer file-sharing
               technology known as BitTorrent. Id. at ¶¶ 6-10. According to Perino, the
               infringement detection system at issue “cannot yield a false positive.” Id. at
               ¶ 37. Perino does not have the qualifications necessary to be considered an
               expert in the field in question, and his opinion that the surveillance program
               is incapable of error is both contrary to common sense and inconsistent with
               plaintiff’s counsel’s conduct in other matters in this district. Plaintiff has
               not submitted an adequate offer of proof.


       Bunting cannot rely on expert testimony from an unqualified expert, Ben Perino.

       More importantly, after many discovery meetings, DBC’s designated and produced their

fact and expert witness, Robert Young. Robert Young testified that he never installed or executed

the MaverickMonitor software on any server despite being designated by DBC as its 30(b)(6)

designee on software. (See Exhibit 2 of MSJ, Dckt 138-2; Young Deposition, p. 106:15-18). DBC

is bound by Young’s 30(b)(6) testimony. Nowhere does Bunting rely on the evidence produced

by Robert Young or testified about in his 30(b)(6) deposition.

       Bunting does not recognize or address the architectural problems inherent in BitTorrent in

conjunction with Tor. As documented in the article, “BITSTALKER: ACCURATELY AND

EFFICIENTLY MONITORING BITTORRENT TRAFFIC” by Bauer, et. al (Edmondson Decl,

Ex. 50, page 4, the problem with Tor false positives is clearly described in the article as follows:

               However, the active probing approach is not entirely immune from the
               possibility of false positive identification. For example, peers using an
               anonymizing network such as Tor [10] may produce false positives, since
               the last Tor router on the client’s path of Tor routers (called a Tor exit
               router) would be implicated in the file sharing. In fact, a recent study has
               found that BitTorrent is among the most common applications used with
               Tor [11].




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         The Bauer article demonstrates Tor creates false positives in the context of bitTorrent use.
This is exactly the scenario that Huszar’s computer was experiencing. When Carl Crowell, the
first of now four attorneys for DBC, demanded Huszar stop using Tor, Huszar complied. There is
no evidence after that demand that the IP address continued to infringe the DBC work.
         In conclusion, DBC should not be able to using Bunting’s report, which relies on
undisclosed evidence to support an opposition to Huszar’s MSJ. Huszar respectfully requests this
Court ignore the evidence proffered by Bunting and grant Huszar’s motion for summary judgment.


       D. OBJECTIONS TO EVIDENCE

         Huszar, pursuant to LR 56-1, notes this evidentiary objections to DBC’s evidence
presented in its Response in Opposition to Defendant’s motion for summary judgment.
Specifically, the Report of Stephen Bunting (“Bunting Report”) attached as Exhibit 1 to Docket
145. The following objections apply to the Bunting Report:


            o Objection: Lacks Foundation. The Bunting Report relies on evidence and
              documents not included with the report, namely a report by Benjamin
              Perino which was not included as part of the Bunting Report. Further, the
              report was authored to support another case and it is not clear if the same
              system was used on both cases. It also relies upon documents and evidence
              requested in discovery by Huszar, but not produced by DBC prior to the
              close of discovery.

            o Objection: Hearsay. The Bunting Report relies upon out of court testimony,
              namely phone conversations from Ben Perino, as the basis for the truth of
              the matter asserted therein, namely that the MaverickMonitor system is
              reliable.

            o Objection: Lacks Personal Knowledge. The Bunting Report does not
              provide a computation of the false positive rate of the Maverick Monitor
              system, and therefore Mr. Bunting cannot testify as to that rate.

III.      CONCLUSION

         In view of the arguments and evidence presented above, as well as the evidence and

arguments outlined in the moving papers, Huszar respectfully requests this Court grant his motion

for summary judgment on the issue of infringement of the movie, Dallas Buyers Club. In the

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alternative, Huszar respectfully requests the Court deny DBC’s motion for summary judgment, as

triable issues of material fact remain as to the contentions in DBC’s motion for summary judgment.




DATED: April 30, 2018                               Respectfully submitted,

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